           Case 2:19-cr-00048-JLS Document 1-1 Filed 01/22/19 Page 1 of 1
                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRJCT OF PENNSYLVANIA

                                          INFORMATION

 DESIGNATION FORM to be used by counsel to indicate the category,
 p ose of assi nment to ap ro riate calendar.
 Address of Plaintiff: 615 Chestnut Street, Suite 1250, Philadelphia, PA 19106-4476

 Post Office:   Philadelphia                           County:   Philadelphia

 City and State of Defendant:    Ocean City, NJ

 County:    Cape May County                    Register_ number: _N'-"-'A'"'-------
                                                                        /

Place of accident, incident, or transaction:          Eastern District of Pennsylvania

Post Office: Philadelphia                             County:     Philadelphia
RELATED CASE, IF ANY:

Criminal cases are deemed related when the answer to the following question is "yes".

Does this case involve a defendant or defendants alleged to have participated in the same action
or transaction, or in the same series of acts or transactions, constituting an offense or offenses?

        YES/NO: No

     Case Number: No                       Judge: No
CRJMINAL: (Criminal Category - FOR USE BY U.S. ATTORNEY ONLY)
1.              []Antitrust
2.              Elncome Tax and other Tax Prosecutions
3.              []Commercial Mail Fraud
4.              D Controlled Substances
5.              CViolations of 18 U.S.C. Chapters 95 and 96 (Sections 1951-55 and 1961-68)
                and Mail Fraud other than commercial
6.             C General Criminal
        (U.S. ATTORNEY WILL PLEASE DESIGNATE PARTICULAR CRJME AND
        STATUTE CHARGED TO BE VIOLATED AND STATE ANY PREVIOUS
        CRIMINAL NUMBER FOR SPEEDY TRJAL ACT TRACKING PURPOSES)
        26 U.S.C. § 7201 (tax evasion - 1 count); 26 U.S.C. § 7202 (failing to pay over payroll
        taxes- 1 count); 18 U.S.C. § 664 (theft from employee benefit plans- 1 count);.
        29 U.S.C. § 186(a)(2) & (d)(2) (unlawful payments to a · o tcial- c


DATE: January 22. 2019

                                               Assistant United States Attorneys
File No. 2019ROO
U.S. v. George Peltz
